Case 1:21-cr-00526-TSC Document 38 Filed 04/06/22 Page 1 of 8
Case 1:21-cr-00526-TSC Document 38 Filed 04/06/22 Page 2 of 8
Case 1:21-cr-00526-TSC Document 38 Filed 04/06/22 Page 3 of 8
Case 1:21-cr-00526-TSC Document 38 Filed 04/06/22 Page 4 of 8
Case 1:21-cr-00526-TSC Document 38 Filed 04/06/22 Page 5 of 8
Case 1:21-cr-00526-TSC Document 38 Filed 04/06/22 Page 6 of 8
Case 1:21-cr-00526-TSC Document 38 Filed 04/06/22 Page 7 of 8
Case 1:21-cr-00526-TSC Document 38 Filed 04/06/22 Page 8 of 8
